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    9
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   13                      UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   14

   15    JAMAL JOHNSON, on behalf of              CASE NO.: 5:19-cv-02456-FMO-SP
   16
         himself and all others similarly
         situated,                                CLASS ACTION
   17                                             PLAINTIFF’S NOTICE OF
                         Plaintiff,
   18
                                                  RENEWED MOTION AND
         vs.                                      RENEWED MOTION FOR
   19
                                                  LEAVE TO AMEND
                                                  COMPLAINT
         MOSS BROS. AUTO GROUP, INC.
   20    a California Corporation                  Hearing:
   21                                              Date: August 27, 2020
                        Defendant.                 Time: 10:00 a.m.
   22                                              Ctrm: 6D
   23                                              Judge: Hon. Fernando M. Olguin
   24

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                                NOTICE OF RENEWED MOTION FOR LEAVE
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    1
        TO THE HONORABLE FERNANDO M. OLGUIN, AND ALL INTERESTED
    2
        PARTIES:
    3
               PLEASE TAKE NOTICE that on August 27, 2020 at 10:00 a.m., or as soon
    4
        thereafter as this matter may be heard in the above-captioned Court, located at 350
    5
        West First Street, Courtroom 6D, Los Angeles, California 90012, the Honorable
    6
        Fernando M. Olguin presiding, Plaintiff Jamal Johnson, will, and hereby does, bring
    7
        this renewed motion (the “Motion”) pursuant to Fed. R. Civ. P 15(a)(2) requesting
    8
        leave to file a Second Amended Complaint (the “SAC”) naming Defendant Moss
    9
        Bros. Auto Group Inc.’s Marketing Director, Susan Anderson, as a party to this
   10
        lawsuit as a result of her direct participation in the violations of the Telephone
   11
        Consumer Protection Act, 47 U.S.C. §§ 227, et seq. (the “TCPA”) that form the basis
   12
        of this action.
   13
               This Court struck Plaintiff’s first motion for leave for failure to comply with
   14
        Local Rule 7-3. Plaintiff has complied with all obligations under Local Rule 7-3
   15
        including holding a second conference with counsel for Defendant to address
   16
        Defendant’s contention that Plaintiff’s counsel’s declaration filed in support of the
   17
        first motion for leave consisted of inadmissible hearsay. Plaintiff’s counsel did not
   18
        attach some of the documents referenced in his prior declaration because they had
   19
        been labeled confidential by Defendant. However, Defendant has since abandoned
   20
        that designation by filing the purportedly confidential document with this Court.
   21
        Attached to the accompanying Declaration of Manuel S. Hiraldo (the “Hiraldo
   22
        Decl.”) as Exhibits 5 and 6, respectively, are the form of the Plaintiff’s contemplated
   23
        SAC, and a redline showing all revisions made in the SAC relative to the operative
   24
        First Amended Class Action Complaint.
   25
               PLEASE TAKE FURTHER NOTICE that the SAC does not contain any
   26
        new causes of action, rather, in substance, the SAC simply (1) names Defendant Moss
   27
        Bros. Auto Group Inc.’s Marketing Director, Susan Anderson, as a party to this
   28
        lawsuit as a result of her direct participation in authorizing and transmitting the
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    1
        subject prerecorded messages to Plaintiff and the putative class members; (2)
    2
        provides additional factual allegations based on information recently obtained by
    3
        Plaintiff during the course of discovery; (3) refines the class definition consistent with
    4
        the new factual allegations; and (4) removes certain background allegations regarding
    5
        the type of technology utilized (“ringless” voicemails) in order to streamline the
    6
        pleading.
    7
              This is Plaintiff’s first request to amend the operative First Amended
    8
        Complaint, which was filed as a matter of right and only to remove references to the
    9
        use of an automatic telephone dialing system as Plaintiff is only alleging the use of
   10
        prerecorded messages. The proposed amendment will not prejudice Defendant Moss
   11
        Bros. because there are no new causes of action and because there has been no delay
   12
        in seeking this amendment. Further, there is no bad faith and the amendment is not
   13
        futile. Plaintiff’s instant Motion thus satisfies the factors to be considered under
   14
        applicable Ninth Circuit authority in assessing a motion to amend a pleading.
   15
              This Motion is made following the Local Rule 7-3 conference of counsel which
   16
        took place on June 25, 2020. A second Local Rule 7-3 conference of counsel took
   17
        place on July 20, 2020. Defendant Moss Bros. opposes the Motion and leave sought.
   18
        The Motion is made upon this Notice, the accompanying memorandum of law, the
   19
        supporting Hiraldo Decl., and the exhibits attached thereto, all papers and pleadings
   20
        on file in this adversary proceeding, all matters of which judicial notice may be taken,
   21
        and on such other and further argument and evidence as may be presented at or before
   22
        the hearing on this matter.
   23

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    1
        DATED: July 27, 2020
    2

    3                                             HIRALDO P.A.
    4                                             /s/ Manuel S. Hiraldo
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                               NOTICE OF RENEWED MOTION FOR LEAVE
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    1                         PLAINTIFF’S RENEWED MOTION
    2
                             FOR LEAVE TO AMEND COMPLAINT
                Plaintiff Jamal Johnson, pursuant to Rule 15(a) of the Federal Rules of Civil
    3
        Procedure, moves for leave to amend his Complaint, and states:
    4
           I.      BACKGROUND
    5
                On December 20, 2019, Plaintiff commenced the instant action against
    6
        Defendant Moss Bros. Auto Group, Inc. (“Moss Bros.”) by filing his operative Class
    7
        Action Complaint, [ECF No. 1]. Plaintiff alleged that Defendant Moss Bros. violated
    8
        the TCPA by transmitting prerecorded marketing messages to Plaintiff and the
    9
        putative class members, without their express written consent. On March 2, 2020,
   10
        Plaintiff filed his First Amended Class Action Complaint, [ECF No. 17] (the “FAC”),
   11
        as a matter of right and before Defendant Moss Bros. filed its Answer, in order to
   12
        correct errors in the original pleading that made reference to the use of an automatic
   13
        telephone dialing system (“ATDS”).         Since Plaintiff alleges only the use of
   14
        prerecorded messages in Defendant’s violation of the TCPA, the references to the use
   15
        of an ATDS in the original pleading were superfluous and were corrected in the FAC.
   16
                On March 18, 2020, Defendant Moss Bros. filed its Answer to Plaintiff’s First
   17
        Amended Class Action Complaint, [ECF No. 26]. On April 2, 2020, Defendant Moss
   18
        Bros. served its Initial Disclosures and identified its Director of Marketing, Susan
   19
        Anderson, as an individual with discoverable information. Hiraldo Decl. at ¶3. On
   20
        April 23, 2020, Defendant Moss Bros. served its Responses to Plaintiff’s
   21
        Interrogatories, Set One. Hiraldo Decl. at ¶4. In its responses, Defendant Moss Bros.
   22
        stated that the subject prerecorded messages were sent by two non-parties: (1) Ideal
   23
        Direct Ad Group, Inc.; and (2) Reliable Response. Hiraldo Decl. at ¶5. Defendant
   24
        Moss Bros.’s Responses to Interrogatories also state that “Susan Anderson prepared
   25
        and approved the content of the Subject Prerecorded Message.” Hiraldo Decl. at ¶6.
   26
        Notably, Defendant Moss Bros. had previously produced an agreement with Ideal
   27
        Direct Ad Group, Inc. regarding the transmission of prerecorded messages, which
   28

                           RENEWED MOTION FOR LEAVE TO AMEND COMPLAINT
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    1
        was signed by Anderson. Hiraldo Decl. at ¶7. Subsequently, on or about June 23,
    2
        2020, Defendant Moss Bros. produced its agreement with Reliable Response related
    3
        to the transmission of prerecorded messages. Hiraldo Decl. at 8. That agreement was
    4
        also executed by Anderson as the “Marketing Director.” Hiraldo Decl. at ¶9.
    5
                 Plaintiff seeks to file the SAC in order to name Anderson as a party to the
    6
        lawsuit in her individual capacity pursuant to the participation doctrine. As discussed
    7
        in more detail below, the law permits naming individuals in TCPA lawsuits where
    8
        they have personally been involved and authorized the TCPA violations at issue.
    9
        Pursuant to this Court Scheduling and Case Management Order, [ECF No. 47], the
   10
        deadline for the filing of any motion to amend the claims, defenses, and/or parties
   11
        was July 6, 2020 and, therefore, this Motion is timely by virtue of the filing of the
   12
        prior motion for leave before the deadline. For the foregoing reasons, Plaintiff
   13
        respectfully requests leave to amend the operative FAC and file the SAC.
   14
           II.      LEGAL STANDARD
   15
                 The jurisprudence relating to amending complaints is well established in this
   16
        Circuit, as follows: “[L]eave to amend ‘shall be freely given when justice so
   17
        requires,’ Fed. R. Civ. P 15(a), and this policy is to be applied with extreme
   18
        liberality.” Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th
   19
        Cir.1990) (emphasis supplied); see also Poling v. Morgan, 829 F.2d 882, 886 (9th
   20
        Cir.1987) (describing a “strong policy permitting amendment”); Phoenix Solutions,
   21
        Inc. v. Sony Electronics, Inc. 637 F.Supp.2d 683, 689 (N.D. Cal. 2009); Mortkowitz
   22
        v. Texaco Inc., 842 F. Supp. 1232, 1237 (N.D.Cal.1994).
   23
                 The Ninth Circuit has articulated five “Foman factors” that may lead to denial
   24
        of a request to amend a pleading – none of which is present here – namely, “[1] bad
   25
        faith, [2] undue delay, [3] prejudice to the opposing party, [4] futility of amendment,
   26
        and [5] whether the plaintiff has previously amended the complaint.” Johnson v.
   27
        Buckley, 356 F.3d 1067, 1077 (9th Cir. 2004) (citing Foman v. Davis, 371 U.S. 178,
   28                        RENEWED MOTION FOR LEAVE TO AMEND COMPLAINT
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        182 (1962). To the extent any of the factors is arguably present, the objector to the
    2
        amendment is required to present “strong evidence.” Sonoma County Ass’n of Retired
    3
        Employees v. Sonoma County, 708 F.3d 1109, 1117 (9th Cir. 2013).
    4
              The most important of these disqualifying factors is the third, undue prejudice.
    5
        DCD Programs, Ltd. v. Leighton, 833 F.2d 183, 185 (9th Cir. 1987). Such prejudice,
    6
        however, must be substantial. See Morongo, 893 F.2d at 1079. Moreover, such
    7
        prejudice must be weighed against prejudice to the moving party of not allowing the
    8
        amendment. Bell v. Allstate Life Ins. Co., 160 F.3d 452, 454 (8th Cir. 1998). Thus,
    9
        Ninth Circuit’s policy is to implement free allowance of amendments subject to a
   10
        strong showing of prejudice or any of the other Foman factors. Eminence Capital,
   11
        LLC v. Aspeon, Inc., 316 F.3d 1048, 1052 (9th Cir. 2003).
   12
           III.   ARGUMENT
   13
              First, there is no bad faith or any indication thereof. Plaintiff brings the instant
   14
        Motion in good faith to add Anderson as a party to the lawsuit. Plaintiff has a good
   15
        faith basis to name Anderson as she approved the subject marketing campaigns,
   16
        contracted with the outside vendors that executed the marketing, and even approved
   17
        the content of the violative prerecorded messages.
   18
              Second, there is no undue delay present with Plaintiff having brought the
   19
        Motion promptly after receipt – on June 23, 2020 – of the second agreement
   20
        necessary to show Anderson’s direct involvement in and authorization of the subject
   21
        violative prerecorded message campaigns. Thus, Plaintiff did not allow the passage
   22
        of an unreasonable amount of time or do, or fail to do, anything that is inconsistent
   23
        with good faith in bringing this Motion. Moreover, the first motion for leave was
   24
        filed prior to the Court’s July 6, 2020 deadline for the amendment of pleadings. The
   25
        instant renewed Motion was filed to correct the failure to identify the conferral date
   26
        under Local Rule 7-3.
   27

   28                      RENEWED MOTION FOR LEAVE TO AMEND COMPLAINT
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    1
              Third, there is no undue prejudice to Defendant Moss Bros. for several reasons.
    2
        Most importantly, the SAC does not add any new causes of action. Moreover,
    3
        Defendant Moss Bros. has at all times been aware of Anderson’s involvement and
    4
        potential liability for the TCPA violations at issue in this case. Thus, having been
    5
        aware of Anderson’s involvement and the factual allegations contained in the SAC,
    6
        Defendant Moss Bros. cannot complain of undue prejudice. Indeed, there is no
    7
        prejudice and Defendant Moss Bros.’s ability to defend this lawsuit will not be
    8
        impacted in any way.
    9
              Fourth, the amendment sought would not be futile because the SAC
   10
        sufficiently alleges Anderson’s personal and direct participation in the TCPA
   11
        violations at issue in this case, rendering Anderson personally liable under the TCPA.
   12
        Indeed, “[b]ecause the [TCPA’s] statutory prohibition applies to ‘any person’
   13
        individuals can be held liable under the TCPA for sending unsolicited [text
   14
        messages].” Physicians Health Source, Inc. v. Doctor Diabetic Supply, LLC, No. 12-
   15
        22330-CIV, 2015 U.S. Dist. LEXIS 33510, at *3-4 (S.D. Fla. Mar. 18, 2015). An
   16
        individual “may be personally liable under the TCPA if he had direct, personal
   17
        participation in or personally authorized the conduct found to have violated the statute,
   18
        and was not merely tangentially involved.” Id.; see also Neurocare Inst. of Cent. Fla.,
   19
        P.A. v. US Capital Access, Inc., No. 6:13-cv-1233-Orl-31DAB, 2014 U.S. Dist.
   20
        LEXIS 73909, at *12-13 (M.D. Fla. May 13, 2014); J2 Glob. Communs., Inc. v. Blue
   21
        Jay, Inc., No. C-08-4254 PJH (EMC), 2009 U.S. Dist. LEXIS 111609 (N.D. Cal.
   22
        Aug. 4, 2009) (“At least one court has expressly held that an individual corporate
   23
        officer, if acting on behalf of the corporation, may be held personally liable for
   24
        purposes of the TCPA if he or she had ‘direct, personal participation in or personally
   25
        authorized the conduct found to have violated the statute and was not merely
   26
        tangentially involved.’”) (quoting Texas v. Am. BlastFax, Inc., 164 F. Supp. 2d 892,
   27
        896-99 (W.D. Tex. 2000)).
   28                      RENEWED MOTION FOR LEAVE TO AMEND COMPLAINT
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    1
              Fifth, Plaintiff previously amended his original Complaint as a matter of right,
    2
        but that amendment was merely to correct inaccuracies in the pleading. This is the
    3
        first time Plaintiff seeks leave to amend and make substantive changes to his
    4
        operative First Amended Complaint.
    5
           IV.   CONCLUSION
    6
              For to foregoing reasons, Plaintiff respectfully requests leave to file the SAC.
    7
        Denying the Motion would cause prejudice to Plaintiff and the putative class
    8
        members. Conversely, Defendant Moss Bros. would suffer no prejudice.
    9
              WHEREFORE, Plaintiff respectfully requests an order granting the instant
   10
        Motion, and for such other relief deemed appropriate by this Court.
   11

   12
                                                     Respectfully submitted,
   13         Dated: July 27, 2020
   14
                                                     HIRALDO P.A.
   15
                                                     /s/ Manuel S. Hiraldo
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   28                     RENEWED MOTION FOR LEAVE TO AMEND COMPLAINT
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   28                   RENEWED MOTION FOR LEAVE TO AMEND COMPLAINT
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